Case 2:11-cr-14058-JEM Document 172 Entered on FLSD Docket 03/28/2012 Page 1 of 4




                            UNITED STATES DISTRICT CO URT
                            SOUTHERN DISTRICT OF FLORIDA
                        CASE NO.II-I4OS8-CR-MARTINEZ/LYNCH
  UNITED STATES O F AM ERICA,
         Plaintiff,                                              FILED by           D.C.
  V.

  LEROY B.SATCHELL,                                                 MAq 28 2212
                                                                    STEVEN M LARIMORE
         Defendant.                                                  ctlRxub.Dls-
                                                                   s.D.o!
                                                                        rFLJ.-F'
                                                                                 ccm
                                                                               cPIERCE
                                    /
                REPO RT AND RECOM M ENDATION ON CHANG E OF PLEA

         THIS CAUSE having come on to be heard upon the O rderofReference from the

   DistrictCourtforthis Courtto conducta proceeding foracceptance ofa guilty plea by the

   Defendantin the above referenced case and this Coud having conducted a change ofplea

   hearing on M arch 28,2012,this Coud recom mends to the DistrictCoud as follows:

         1,     On M arch28,2012,thisCoud convened a hearing to perm itthe Defendantto

  entera change ofplea in the aforementioned m atter.Atthe outsetofthe hearing this Court

  advised the Defendantofhis righttohavethese proceedingsconducted bythe Districtludge

  assigned to the case. Fudher, this Coud advised the Defendant that this Coud was

  conducting thechange ofplea hearing on an OrderofReference from the DistrictCoud and

  atthe requestofthe Defendant,the Defendant's attorney and the AssistantUnited States

  Attorney assigned to this case. This Courtfudheradvised the Defendantthatthe District

  Judge assignedtothiscasewouldbethesentencingjudgeandwouldmakeaIIfindingsand
   rulings concerning the Defendant's sentence and w ould conducta sentencing hearing ata

  tim e setby the D istrictC oud.
Case 2:11-cr-14058-JEM Document 172 Entered on FLSD Docket 03/28/2012 Page 2 of 4




        2.     This Court advised the Defendant that he did not have to perm it the

  undersigned United States Magistrate Judge to conductthis hearing and could requestthat

  the change of plea hearing be conducted only by a United States DistrictJudge, The

  Defendant,the Defendant's attorney and the AssistantUnited States Attorney assigned to

  the case aIIagreed on the record and consented tothis Coud conductingthe change ofplea

  hearing.

        3.     This Coud conducted a plea colloquy in accordance with the outline setforth

  in the Bench Book forDistrictJudges.

        4.     There is aw ritten plea agreem entwhich had been entered into by the padies

  in this case.ThisCoud reviewed thatplea agreementonthe record and had the Defendant

  acknowledge thathe signed the plea agreem ent. This Courtalso made cedain thatthe

  Defendantwasawareofanym inim um m andatorysentencesand maxim um sentencesw hich

  could be imposed in this case pursuantto thatplea agreementand the applicable statutes.

        5.     The Defendantpled guiltyto CountOne ofthe lndictm ent,whichcountcharges

  the Defendantwith conspiracy to comm itmailfraud,in violation ofTitle 18,United States

  Code,Section 1349. The governm entagreed to m ove to dism iss Counts Eightand Nine of

  the Indictmentaftersentencing.

        6.     Thegovernm entstated afactualbasisforthe entryofthe pleawhich included

  aIIofthe essentialelements ofthe crim e to which the Defendantis pleading guilty and any

  sentencing enhancements and/or aggravating factors that may be applicable. The

  governm entalso announced the possible m inim um and m axim um penalties in respectto

  CountO ne ofthe lndictm entwhich included advising the Defendantofthe possibility of



                                             2
Case 2:11-cr-14058-JEM Document 172 Entered on FLSD Docket 03/28/2012 Page 3 of 4




  rem ovalaftersentencing,The Defendantacknow ledged thathe understood these possible

  m inim um and m axim um penalties which could be im posed in his case.

                  Based upon aIIofthe foregoing and the plea colloquy conducted by this

  Coud,this Coud recom m ends to the DistrictCoud thatthe Defendantbe found to have

  freely and voluntarily entered his guilty plea to CountOne ofthe Indictmentand thatthe

  Defendantbe adjudicated guilty ofthatoffense.
         8.       A pre-sentence investigation is being prepared forthe DistrictCourtby the

  United States ProbationO ffice and sentencing has beensetforM onday,August20,2012,

  at10:30 a.m .,atthe United States DistrictCourthouse,Courtroom #4008,101 South

  U.S.Highw ay 1,FortPierce,Florida.

         ACCORDINGLY,this Coud recom mends to the DistrictCourtthatthe Defendant's

  pleaofguiltybeaccepted,theDefendantbeadjudicatedguiltyoftheoffensetowhichhehas
  entered his plea ofguilty and thata sentencing hearing be conducted forfinaldisposition of

  this m atter.

         The parties shallhave foudeen (14) days from the date of this Repod and
   Recommendationwithinwhichtofileobjections,ifany,withthe HonorableJoseE.Madinez,
  the United States DistrictJudge assigned to this case.

         oosE ANo susulrvEo this             d# dayofMarch,2012,atFortpierce,Northern
   Division ofthe Southern DistrictofFlorida.




                                                      LYN H ,JR .
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                                            U       D    ES    G ISTRATE JUDG E


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Case 2:11-cr-14058-JEM Document 172 Entered on FLSD Docket 03/28/2012 Page 4 of 4




  Copies furnished:
  Hon,Jose E.Madinez
  AUSA Shaniek Maynard
  AUSA Carm en M .Lineberger
  Horecia 1.W alker,Esq.
  U.S.Probation
  U.S.Marshal




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